 Case 3:17-cv-00072-NKM-JCH Document 218 Filed 02/01/18 Page 1 of 2 Pageid#: 1129


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TO THE PERSON PREPARING THIS AFFIDAVIT: You mustcomply with the appropliate requirem entslisted on theback ofthisform .




              applies(seeNON-RESIDENCEGROUNDSREQUIREMENTonreverse).
              isapersonwhom thepartyseekingservice,afterexercisingduediligence,hasbeenunabletolocate(seeDUEDILIGENCE
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NOTICE TO THE RECIPIENT from theOfficeoftheExecutiveSecretaryoftheCom monwealthofVirginia;
       You arebeing servedwith thisnotice and attached pleadingsunderSection 8.01-329 ofthe Code ofVirginiawhich designates
       the Secretary ofthe Col nmonwealth asstattltory agentforService ofProcess.The Secretary ofthe Commonwealth'sONLY
       responsibility isto mail,by certified mail,retulm receiptrequested,the enclosed papersto you. Ifyou haveany questions
       concerning these documents,you may wish to seek advice from a lawyer.
SERVICE OF PROCESS IS EFFECTIVE ON THE DATE W HEN SERV ICE IS M ADE ON THE SECRETARY OF THE
COM M ONW EALTH.
                                                        CERTIFICATE OF COM PLIANCE
1,tlleundersigned,ClerkintheOfficeoftheSecretaryoftheComm onwealth,hereby certify thefollow ing:
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 TIM ELY SERVICE REQUIREM ENT:
    ServiceofprocessinactionsbroughtonawarrantormotionforjudgmentpursuanttoVirginiaCodej16.1-
 79orj 16.1-81shallbevoid andofnoeffectwhen such serviceofprocessisreceivedby theSecretary within
 ten daysofany rettzrn day setby thew arrant.ln such cases,the Secretary shallrettlrn the processornotice,the
 copyoftheaffidavit,andtheprescribedfeetotheplaintifforhisagent.A copyofthenoticeoftherejection
 shallbe sentto the clerk ofthecourtin which the action was filed.


 NON-RESIDENCE GROUNDS REQUIREM ENT:
 lfbox num ber1 ischecked,insertthe appropriate subsection num ber:

 A courtmayexercisepersonaljurisdictionoveraperson,whoactsdirectlyorbyanagent,astoacauseofaction
 azisinyfrom theperson's:

            Transacting any businessin thisCom m onw ealth;
            Contracting to supply servicesorthingsin thisCom m onw ealth;
         3. CausingtortiousinjurybyanactoromissioninthisCommonwealth;
         4. CausingtortiousinjuryinthisCommonwea1thbyanactoromissionoutsidethisCommonwea1thifhe
            regularly doesorsolicitsbusiness,orengagesirlany otherpersistentcourse ofconduct,orderives
            substantialrevenue from goodsused orconsum ed orservicesrendered in thisCom m onw ealth;
         5. CausinginjuryinthisCommonwea1thtoanypersonbybreachofwarrantyexpresslyorimpliedlymade
            in thesaleofgoods outside thisCom m onw ealth w hen he m ightreasonably have expected such person to
            use,consum e,orbe affected by the goodsin thisCom m onw ealth,provided thathe also regularly doesor
            solicitsbusiness,orengagesin any otherpersistentcourse ofconduct,orderivessubstantialrevenue
            from goodsused orconsum ed orservicesrendered in tllisComm onw ealth;
            Raving an interestin,using,orpossessing realpropertyin thisCommonwealth;
            Contracting to insure any person,property,orrisk located w ithin the Comm onw ealth atthe tim e of
            contracting'
                       ,or
         8. (ii).Havingbeenorderedtopayspousalsupportorchildsupportpursuanttoanorderenteredbyany
            courtofcompetentjurisdictioninthisCommonwea1thhavinginpersonam julisdictionoversuchperson.
--   -   9z -llaving-incurred-a liability fortaxesy5.nes,penalties;interest,orother-charges-to any.
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             subdivision ofthe Com m onw ea1th.


 DUE DILIGENCE REQUIREM ENT:
 lfbox num ber2 ischecked,thefollow ing provision applies:

     W hen theperson to be served isaresident,the signamre ofan attorney,party oragentoftheperson seeking
 serviceon such affidavitshallconstim te a certificate by him thatprocesshasbeen delivered to thesherifforto a
 disinterestedperson aspermittedby j 8.01-293 forexecution and,ifthesheriffordisinterestedpersonwas
 unableto execute such service,thatthe person seeking service hasm adea bona fide attem ptto determine the
 actualplace ofabode orlocation oftheperson to be served.



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